Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 1 of 56




          EXHIBIT 26
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 2 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 3 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 4 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 5 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 6 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 7 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 8 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 9 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 10 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 11 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 12 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 13 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 14 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 15 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 16 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 17 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 18 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 19 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 20 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 21 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 22 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 23 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 24 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 25 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 26 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 27 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 28 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 29 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 30 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 31 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 32 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 33 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 34 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 35 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 36 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 37 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 38 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 39 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 40 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 41 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 42 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 43 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 44 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 45 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 46 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 47 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 48 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 49 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 50 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 51 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 52 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 53 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 54 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 55 of 56
Case 3:16-md-02741-VC Document 8573-28 Filed 12/27/19 Page 56 of 56
